Case 19-12220-KBO Doci177 Filed 12/18/19 Page1of4

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CASE NAME: Yueting Jia COURTROOM: 3
CASENO.: 19-12220-KBO DATE: December 18, 2019 10:00 AM

 

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NAME LAW FIRM OR COMPANY CLIENT REPRESENTING
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Court Conference

Calendar Date:
Calendar Time:

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12/18/2019
10:00 AM ET

U.S. Bankruptcy Court-District of Delaware

Confirmed Telephonic Appearance Schedule
Honorable Karen B. Owens

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Courtroom
2nd Revision Dec 18 2079 5:46AM
Page# Item# Case Name Case # Proceeding App ID Appearing Telephone Firm Name Representing
Jia 10-12220 Hearing 10257666 Wang Jerry (201) Wang Jerry - In Pro Per/Pro Se Interested Party, Jerry
354-7734 ext. Wang / LISTEN ONLY
Jia 19-12220 = Hearing 10252660 Aisha Al-Muslim (212) The Wall Street Journal Media, Aisha Al-Musiim /
416-4948 ext. LISTEN ONLY
Jia 19-12220 = Hearing 40257916 Matthew Austria (302) Austria Legal, LLC Representing, Jiangyin
521-5197 ext. Hailan investment
Holding Co., Ltd., China
Minsheng Co,, and
Shanghai Le / L!
Jia 19-12220 = Hearing 10257604 Jeffery W. (310) Pachuiski Stang Zieh! & Jones Debtor, Jia / LIVE
Dulberq, 772-2355 ext.
Jia 19-12220 = Hearing 10258455 Taylor B. {212} Debtwire Interested Party,
Harrison 390-7831 ext. Debtwire / LISTEN
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Mt 696-6199 ext. Mosle LLP Mallet-Prevost, Colt &
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Jia 19-12220 = Hearing 10250034 John A. Moe, II (213) Dentons US, LLP Creditor, Shanghai
892-4905 ext. Qichengyueming
Investment Partnership
Enterprises / LIVE
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Persichilli 470-1874 ext. P. Persichilli / LISTEN
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Jia 19-12220 = Hearing 10258447 Andrew Polansky (312) Kirkland & Ellis LLP Creditor, Pibdt
862-2000 ext. Jinmeihua / LISTEN
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Jia 19-12220 = Hearing 10257861 BenjaminRhode (312) Kirkland & Ellis LLP Creditor, Tibet
862-2764 ext. Jinmeihua / LIVE _
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dia 19-12220 Hearing 10259679 Vincent J. (212) Ballon Stoll Bader & Nadler, P.C. Creditor, China
Roldan 575-7900 ext. Minsheng Trust Co.,
3324 Shanghai Leyu

Chuangye Investment
Mgmt, Jiangyin Hailan

 

 

 

 

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Jia 19-12220 Hearing 10255818 Adam L. Rosen (516) Adam L. Rosen PLLC Creditor, Henry Hong
407-3756 ext. Liu / LISTEN ONLY
Jia 19-12220 Hearing 10259939 Jinshu Zhang (213) Dentons US LLP Creditor, Shanghai
638-1000 ext. Qicheng Yuerning /
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